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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     Case No. 19-20246
                     Plaintiff,                      HON. DENISE PAGE HOOD

vs.

COLTON JURISIC,

               Defendant.
_______________________________/

      STIPUALTION TO MODIFY DEFENDANT’S CURFEW SCHEDULE

        The above-named parties, by and through their counsel, agree and stipulate

to modify Defendant Colton Jurisic’s curfew schedule.

        On December 24, 2021, Mr. Jurisic’s curfew shall be modified from

10:00AM to 2:00PM to 3:00 PM to 9:00 PM so he may attend a family Christmas

Eve dinner at the Holiday Inn Express 2080 Holliday Dr., Dubuque, IA 52002.

        All other terms and conditions Colton Jurisic’s release on bond in this matter

shall remain in full force and effect.


IT IS SO STIPUILATED

s/Timothy Wise (with consent)                  s/ Michael A. Rataj
TIMOTHY WYSE                                   MICHAEL A. RATAJ
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Dated: December 17, 2021
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                    Case No. 19-20246
                   Plaintiff,                       HON. DENISE PAGE HOOD

vs.

COLTON JURISIC,

               Defendant.
_______________________________/

       ORDER MODIFYING DEFENDANT’S CURFEW SCHEDULE

      The above matter having come before the Court upon the stipulation of the

parties, and the Court being fully advised in the premises:

      IT IS HEREBY ORDERED that Defendant Colton Jurisic shall have

permission to extend his curfew from 3:00PM until 9:00PM on December 24,

2021, for the purposes of attending a family Christmas Eve dinner at the Holiday

Inn Express 2080 Holiday Dr., Dubuque, IA 52002.

      IT IS FURTHER ORDERED that all other terms and conditions of the

Defendant’s release shall remain in full force and effect.

      IT IS SO ORDERED.

                                              s/Denise Page Hood
                                              United States District Judge

Dated: January 7, 2022
